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                             8
                                                             UNITED STATES DISTRICT COURT
                             9
                                                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                           10
                                 HERBALIFE INTERNATIONAL OF                 Case No. 2:22-cv-347
                           11    AMERICA, INC., a Nevada corporation,
                                                                            COMPLAINT FOR:
                           12                   Plaintiff,
                                                                            (1) FRAUDULENT
                           13             vs.                                   CONCEALMENT;
                                                                            (2) BREACH OF FIDUCIARY
                           14    EASTERN COMPUTER EXCHANGE,                     DUTY;
                                 INC., a Connecticut corporation, and       (3) BREACH OF CONTRACT;
                           15    GERRY BERG, an individual, residing in     (4) CONVERSION; and
                                 the State of Pennsylvania,                 (5) DECLARATORY RELIEF.
                           16
                                                Defendants.
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M AN A T T , P H E L PS &
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      L O S A N GE L E S
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  1            Plaintiff Herbalife International of America, Inc. (“Herbalife”), for its Complaint
  2   herein, states and alleges as follows:
  3                                            THE PARTIES
  4            1.    Plaintiff Herbalife is a Nevada corporation with its principal place of
  5   business in Los Angeles, California.
  6            2.    Defendant Gerry Berg (“Berg”) is an individual who, on information and
  7   belief, currently resides and is domiciled in Pennsylvania.
  8            3.    Defendant Eastern Computer Exchange (“Eastern”) is a Connecticut
  9   corporation with its principal place of business in Westport, Connecticut.
 10                                 JURISDICTION AND VENUE
 11            4.    This Court has jurisdiction over this action pursuant to the provisions of 28
 12   U.S.C. Section 1332 because there is complete diversity between Herbalife, Eastern, and
 13   Berg, and the amount in controversy exceeds the sum of $75,000, exclusive of interest and
 14   costs.
 15            5.    Venue is proper in this Court pursuant to 28 U.S.C. Sections 1391(b) and
 16   1400 because a substantial part of the events giving rise to the claims occurred in this
 17   judicial district, and Herbalife’s principal place of business is within this judicial district.
 18   Eastern and Herbalife entered into a Master Services Agreement (“MSA”) providing that
 19   “any and all disputes arising under this Agreement shall be adjudicated in the appropriate
 20   state or federal court within California.” Eastern and Herbalife also entered into a Non-
 21   disclosure Agreement (“NDA”) providing that “all disputes arising from or relating to this
 22   Agreement [shall be subject] . . . to the exclusive venue and jurisdiction of, the state and
 23   federal courts of Los Angeles County, California.”
 24            6.    Venue is also proper in this Court because Berg and Herbalife entered into a
 25   confidentiality agreement (the “Confidentiality Agreement”) that “any action to enforce or
 26   interpret it, or otherwise arising from it, shall be initiated and maintained in a court in the
 27   County of Los Angeles . . . . ”
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  1                                 FACTUAL BACKGROUND

  2                                      General Allegation
  3            7.    In furtherance of a fraudulent scheme, defendant Berg conspired with

  4   Eastern to provide Eastern an unfair advantage to the detriment of Herbalife.

  5                   Herbalife’s Robust Procurement Policies and Procedures
  6            8.    Herbalife is a global nutrition company that, through its network of

  7   independent distributors, provides consumers with nutrition solutions in the areas of

  8   weight management, sports nutrition, and health and wellness. Herbalife has been in
  9   operation for over 41 years and is currently a New York Stock Exchange publicly traded

 10   company operating in 95 markets globally.

 11            9.    Herbalife has robust and detailed written procurement policies and
 12   procedures that all employees must follow. Pursuant to these policies and procedures,

 13   Herbalife engages thousands of vendors to provide goods and services to Herbalife in a

 14   fair and consistent manner.
 15            10.   Herbalife’s procurement policies and procedures contain extensive

 16   requirements. Herbalife’s procurement procedures require, among other things, a number

 17   of written approvals by specified employees before a vendor can be awarded a contract.
 18   Berg was advised that before capital expenditures could be made through a third party

 19   vendor, Herbalife’s policies and procedures required the following: 1) an approved Project

 20   Authorization Request or “PAR”—that is, approval of the proposed total expenditure on
 21   the overall project; 2) an approved purchase requisition or “PR”—that is, approval for the

 22   specific purchase tied to the project for which there is an approved PAR; and 3) an

 23   approved Purchase Order or “PO” for the vendor, tied to the project and purchase for
 24   which there is already an approved PAR and PR, which represents Herbalife’s purchase

 25   commitment to the vendor.

 26            11.   The PAR, PR, and PO must all be approved in writing by the specifically
 27   designated employees at Herbalife with approval authority. Multiple approvals may be

 28   required, including by senior management and the Board of Directors (“Board”),
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  1   depending on the size of the expenditure.

  2            12.   To ensure that all of these required procurement policies and procedures
  3   were followed, Herbalife used database systems to record and maintain PARs, PRs, and

  4   POs. For example, a PO cannot be issued using Herbalife’s Oracle database unless all of

  5   the required approvals have been obtained for both the associated PAR and PR.
  6            13.   The Oracle database sequentially assigns a unique number to a PO based on

  7   the date of creation of the PO. Once all of the requisite approvals are obtained, and a PO is

  8   able to be issued, an employee of Herbalife typically sends a copy of the PO to the vendor
  9   from the Oracle system. All PARs, PRs, and POs, including all written authorizations for

 10   such documents, are stored on Herbalife database systems.

 11            14.   These procurement procedures and procedures were designed by Herbalife
 12   to promote transparency and to ensure that projects being bid were within the company’s

 13   budget, met the company’s stated needs, and were subject to fair competitive bidding.

 14     Herbalife Hires Berg, Who Is Made Aware of Herbalife’s Policies and Procedures
 15            15.   In late 2019, Berg discussed a potential employment opportunity for Berg to

 16   work at Herbalife. On or around January 6, 2020, Berg accepted an at-will position as

 17   Vice President of Infrastructure & Operations at Herbalife, reporting directly to the Chief
 18   Information Officer.

 19            16.   As part of Berg’s onboarding process, Berg had access to, and was required

 20   to be familiar with, Herbalife’s procurement policies and procedures identified above.
 21            17.   Berg was well-aware of Herbalife’s procurement policies and procedures.

 22   In fact, in May 2020, an employee of Herbalife made a complaint against Berg alleging

 23   that Berg had not followed Herbalife’s procurement policies and procedures in connection
 24   with work awarded to Eastern. Herbalife investigated the complaint and found that Berg,

 25   among other things, had not competitively bid some of the services awarded to Eastern, in

 26   violation of Herbalife’s procurement policies and procedures. Berg, thus, was reminded of
 27   Herbalife’s procurement policies and procedures, and instructed that in the future Berg

 28   must follow Herbalife’s procurement policies and procedures.
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  1            18.     Upon hire, Berg also signed the Confidentiality Agreement wherein Berg

  2   agreed not to share Herbalife’s confidential information with “any third party, except,
  3   when necessary, in the course and scope of his/her employment and in furtherance of

  4   [Herbalife’s] business.” See Exhibit 1.

  5                                       Eastern Signs a MSA
  6            19.     On information and belief, Eastern is a technology company based in

  7   Westport, Connecticut. Eastern is what is known as a “value added reseller” or “VAR,”

  8   which partners with original equipment manufacturers (“OEMs”) such as Dell
  9   Technologies, to resell computer equipment to end users such as Herbalife.

 10            20.     Berg had a history of working with Eastern at companies where he was

 11   previously employed. During that time, Berg developed a close personal relationship
 12   with, among other individuals at Eastern, Eastern’s president, Brendan Lynch (“Lynch”).

 13            21.     In late 2019, Eastern was introduced to and became an Herbalife vendor for

 14   the first time. Herbalife and Eastern signed the NDA, effective December 13, 2019,
 15   strictly prohibiting the parties from using any confidential information of the other. See

 16   Exhibit 2. Herbalife and Eastern also signed the MSA in January 2020. Berg signed the

 17   MSA, although it was backdated to December 19, 2019, before his employment
 18   commenced with Herbalife. See Exhibit 3.

 19                          Herbalife Issues 21 Purchase Orders to Eastern

 20            22.     Starting January 2020 through April 2021, Herbalife entered into 21
 21   different POs with Eastern and paid Eastern over $15 million in connection with those

 22   POs. Eastern, thus, was well aware of the necessity of Herbalife issuing a PO before any

 23   payments could and would be made by Herbalife.
 24                   Eastern Receives a Purchase Order to Conduct an Analysis of

 25                  Herbalife’s Business Continuity and Disaster Recovery Strategy

 26            23.     Business continuity and disaster recovery (“BCDR”) generally refers to a
 27   strategy to reduce the risk of technology outages that could disrupt a business. Herbalife

 28   retained Eastern in or around April 2020, pursuant to a PO, to perform an “application
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  1   impact analysis” (“AIA”) of Herbalife’s BCDR systems in both its Salt Lake City and

  2   Winston-Salem database locations. Herbalife paid Eastern for the AIA in accordance with
  3   the PO issued for it.

  4            24.   Eastern provided Herbalife the AIA report, with its BCDR design

  5   recommendations, on or around June 18, 2020. The June 18, 2020 Eastern AIA report
  6   made two recommendations for potential BCDR solutions for Herbalife’s computer

  7   systems located in Salt Lake City and Winston-Salem. In its AIA report, Eastern stated it

  8   would make a proposal “in 4 weeks” (by July 18, 2020) to address the BCDR strategy for
  9   both Salt Lake City and Winston-Salem. Notably, both design solutions recommended by

 10   Eastern would have Herbalife commit significant resources to an on-premises, primarily

 11   hardware-focused solution (i.e., use vendors such as Eastern to purchase hardware and
 12   equipment from OEMs like Dell), rather than a cloud-based solution.

 13                   Herbalife’s Board of Directors Reviews BCDR Strategy

 14            25.   During the summer and into the fall of 2020, a team of Herbalife employees,
 15   including Berg, prepared a presentation for Herbalife’s Board of Directors (the “Board”)

 16   on BCDR. The presentation addressed various BCDR recommendations for both the Salt

 17   Lake City and Winston-Salem locations. The purpose of the presentation to the Board
 18   was to present management’s recommendations related to BCDR and to seek Board

 19   approval for funding a BCDR project, consistent with Herbalife’s policies and approval

 20   process.
 21            26.   The presentation requested the Board to approve $40 to $50 million to

 22   address BCDR. The presentation noted that the “cost projections represent estimated

 23   maximum spend, as no negotiating has been initiated (of which $20 million is [capital
 24   expenditures] and the remainder is maintenance and support).” (Emphasis added.) At this

 25   Board meeting, which Berg did not attend, the Board approved a preliminary budget to

 26   address BCDR.
 27                           Berg Meets with Eastern on October 28, 2020

 28            27.   Unbeknownst to his supervisor, Berg had arranged for Eastern (Lynch and
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  1   Marty O’Brien (“O’Brien”), Eastern’s Regional Sales Director), to meet at Herbalife’s

  2   office in Torrance on October 28, 2020.
  3            28.   The October 28, 2020 meeting was attended by Gerry Berg, Peter Bray

  4   (“Bray”), Herbalife’s Senior Director of Strategy and Governance, as well as Lynch and

  5   O’Brien. Because Bray had been recently hired and had been primarily working remotely
  6   at Herbalife, the meeting was Bray’s first time in Herbalife’s office, as well as Bray’s

  7   first-time meeting Berg, Lynch, and O’Brien in person. Bray was unaware of the purpose

  8   of the meeting.
  9            29.   As of October 28, 2020, there was no PAR, PR, or PO issued for the BCDR

 10   project; therefore, neither Bray nor Berg had any authority to approve Eastern ordering

 11   any equipment for the proposed BCDR project.
 12            30.   Nevertheless, Eastern (Lynch and O’Brien) raised the possibility of Eastern

 13   pre-ordering BCDR equipment during the October 28, 2020 meeting. More specifically,

 14   Eastern suggested that it purchase equipment from Dell on behalf of Herbalife before
 15   Herbalife had approved a PAR, PR, or PO for the equipment. During this meeting, Bray

 16   told Lynch and O’Brien that he wouldn’t take such an approach, but that if Eastern

 17   nevertheless did so, and chose to pre-order BCDR equipment, that such a decision would
 18   be “on them.”

 19            31.   Although the Board approved the initial spend, Herbalife’s policies

 20   nevertheless require employees to follow its required approval process, which includes a
 21   PAR, PR, and PO.      Berg and Bray knew well that no one could bypass this process and

 22   approve a “verbal order” for the purchase of the BCDR equipment. This was especially

 23   so given the significant size of the expenditure. Eastern likewise knew that it must receive
 24   a PO, in writing, from Herbalife, just as it had many times for prior orders.

 25            32.   While Defendants now claim that Bray placed a “verbal order” for tens of

 26   millions of dollars of BCDR equipment at this October 28 meeting, without a PAR, PR, or
 27   PO, this contention is belied by many facts. Bray steadfastly denies that he approved a

 28   verbal order. Moreover, Berg, not Bray, was the project lead for BCDR, had the prior
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  1   relationship with Eastern, and convened the October 28, 2020 meeting. Moreover, unlike

  2   Berg, Bray did not have a vice president title. Finally, Berg certainly was aware that
  3   Bray, who was below Berg in the Herbalife hierarchy, and had just recently joined the

  4   company, could not unilaterally ignore Herbalife’s procurement policies and procedures

  5   and place a verbal order worth tens of millions of dollars.
  6            33.      On October 30, 2020, Eastern, without Herbalife’s knowledge or

  7   authorization, placed an order in excess of $20 million worth of computer hardware from

  8   Dell, supposedly for Herbalife’s BCDR project.
  9            34.      It is abundantly clear that Berg and Eastern understood that they did not

 10   have the authority to proceed with the order and spend millions of dollars on the BCDR

 11   project.       There is no evidence confirming or even mentioning this supposed verbal
 12   agreement anywhere at Herbalife. Herbalife has been unable to locate even a single email

 13   evidencing an agreement between Eastern and Herbalife to purchase the BCDR

 14   equipment, and there is no written agreement to this effect. It is inconceivable that a deal
 15   worth tens of millions of dollars, potentially involving dozens of Herbalife employees,

 16   would leave no paper trail at Herbalife. It appears that all communications, if any,

 17   regarding Eastern’s ordering of the equipment from Dell were conducted on non-
 18   Herbalife devices in an apparent effort to conceal the transaction.

 19                             Herbalife Issues a RFP for BCDR Strategy

 20            35.      Herbalife, unaware that Eastern had placed an order for certain BCDR
 21   equipment, began the formal process of searching for a vendor to fulfill its BCDR needs

 22   after the Board approved an initial BCDR spend. As required by its policies and

 23   procedures, Herbalife conducted a request for proposals (“RFP”) process in November
 24   2020 for the BCDR project. Herbalife invited vendors to bid on the BCDR project,

 25   including Eastern.

 26            36.      In November 2020, Herbalife provided the vendors participating in the RFP
 27   with highly confidential information about its computer systems, including information

 28   related to data processing, data protection, and business continuity capabilities, to allow
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  1   the vendors to fully diagnose Herbalife’s needs and provide bids to address BCDR

  2   strategy. The bid for the BCDR project was for the entire project, not phases.
  3            37.    At no time during the RFP process did Eastern or Berg ever mention that

  4   Eastern had already allegedly been awarded all or part of the BCDR project, nor did

  5   Eastern or Berg ever mention that it had already ordered equipment from Dell. To the
  6   contrary, along with other vendors invited to participate in the RFP, Eastern prepared and

  7   submitted a response to the RFP.

  8            38.    Indeed, Eastern’s full participation in the RFP process for BCDR—from
  9   November 2020 through January 2021—undermines its position that Eastern had some

 10   type of verbal commitment from Herbalife in October 2020 to order the BCDR

 11   equipment. Even more perplexing, is that Eastern now claims that Herbalife informed
 12   Eastern that it had won the RFP in mid-December 2020—which, again, runs contrary to

 13   Eastern’s decision to order tens of millions of dollars of equipment from Dell in October

 14   2020. Eastern’s contentions are further belied by email communications between Eastern
 15   and Herbalife, which demonstrate that, as of January 2021, there were still discussions

 16   between Herbalife and Eastern regarding Eastern’s potential bid for the entire BCDR

 17   project. Thus, it was clear based on Eastern’s conduct that Eastern had not been
 18   announced as the “winner” of the RFP prior to October 2020 or at any time whatsoever.

 19      Herbalife Circulates BCDR PAR in January 2021, Further Demonstrating That

 20                            There Was No Approval of the BCDR Project
 21             39.   In accordance with Herbalife’s policies and procedures, on January 20,

 22    2021, a PAR for the entire BCDR project was submitted for approval.

 23             40.   Given the size of the BCDR project, the PAR required written approval
 24    from numerous employees, up to and including both the President, as well as the

 25    Chairman/CEO. Berg was one of 15 Herbalife employees whose authorization was

 26    required to approve the PAR.
 27             41.   On January 27, 2021, Berg recorded his approval of the PAR in the Oracle

 28    system. At no time did Berg disclose that he was aware that Eastern had already ordered
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   1    the BCDR equipment from Dell.

   2             42.   The PAR did not receive approval from all 15 individuals required and,
   3    therefore, there was no authorization from Herbalife for Eastern or any vendor to proceed

   4    with the BCDR project.

   5                              Herbalife Terminates the RFP Process
   6             43.   Herbalife decided to terminate the RFP without awarding the contract to any

   7    vendor in January 2021 to further assess the proposed BCDR project design. Later that

   8    month, Herbalife decided to engage a neutral third-party to review and assess the
   9    proposed BCDR project design.         Berg expressed his extreme displeasure regarding

  10    Herbalife’s decision to retain a third party to independently assess the BCDR project.

  11            44.    That same month, Eastern and the other bidders were advised that the RFP
  12   process was put on hold. No vendor was selected, and the bidding process was terminated

  13   to avoid a tainted process and allow Herbalife to further scrutinize its BCDR solution

  14   options.
  15                           Berg Delivers a Fraudulent PO to Eastern

  16            45.    On information and belief, Dell asked Eastern for proof that Herbalife had

  17   committed to the multi-million dollar purchase of computer hardware through Eastern
  18   from Dell for Herbalife’s BCDR strategy.

  19            46.    On information and belief, desperate to get a PO from Herbalife, Lynch

  20   conspired with Berg to create a fraudulent PO wrongly suggesting that Herbalife had
  21   authorized Eastern to purchase the BCDR computer hardware from Dell. On February 23,

  22   2021, Berg hand delivered to Lynch a fraudulent PO backdated to October 30, 2020.

  23   According to a sworn declaration provided by Lynch, “[o]n or about February 23, 2021,
  24   Gerry and [Lynch] met with a mutual friend for a dinner meeting, as [they] have done for

  25   many years. Just prior to the dinner meeting, [Lynch] asked Gerry if he could bring

  26   [Lynch] any written acknowledgement of the BCDR Equipment Order so [Lynch] could
  27   show it to Dell, as requested. Gerry brought [Lynch] a document that memorialized the

  28   October 28, 2020 BCDR Equipment Order.”
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   1            47.     On information and belief, Eastern then provided the fraudulent PO to Dell

   2   for the purpose of falsely confirming Herbalife’s BCDR equipment order.
   3            48.     Not surprisingly, the fraudulent PO provided by Berg to Eastern does not

   4   exist anywhere in any of Herbalife’s files or Oracle database. The fraudulent PO is not in

   5   Herbalife’s Oracle database and was not transmitted through Herbalife’s email systems to
   6   anyone at Herbalife or to any third party. Moreover, there is no record of any actual PO

   7   being issued to Eastern on or around October 30, 2020, nor is there any record of any PO

   8   being issued to Eastern for any project close to $20 million, including BCDR. This is not
   9   surprising, as there was never an approved PAR or PR issued for the BCDR order; thus,

  10   there could not have been an approved PO issued for any equipment order related to

  11   BCDR.
  12            49.     The fraudulent PO that was delivered by Berg to Eastern on February 23,

  13   2021 was identified with the PO number 1102051762. This PO number was originally

  14   issued by Herbalife to Eastern for a completely different project. The original PO was
  15   redacted, and new language for the fraudulent PO inserted, to disguise the fact that the

  16   fraudulent PO was in fact fabricated. Though not immediately apparent at first blush,

  17   upon closer review, the fraudulent PO was also riddled with errors, further underscoring
  18   its fraudulent nature. The Payment Terms on page 1 (“60 on Delivery in Full”) do not

  19   match the Payment Terms on pages 2 and 3 (“30”). Under the word “Release” on the front

  20   page, the text “Page 1 of 3” is missing, but would be included on Herbalife POs. The PO
  21   contains vague language rather than identifying specific equipment that would be ordered.

  22   Nevertheless, this fraudulent PO was delivered by Eastern to Dell as evidence that Eastern

  23   had an “agreement” with Herbalife to order the Dell equipment.
  24                  Herbalife Hires Deloitte to Reevaluate Herbalife’s BCDR Needs

  25            50.     In February 2021, Herbalife hired Deloitte to analyze its BCDR needs.

  26   Deloitte was retained to make independent recommendations without any financial
  27   incentives.      Throughout the month of March 2021, confidential meetings occurred

  28   between representatives of Deloitte and Herbalife to evaluate the proposed BCDR project.
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   1   It was made clear to participants, including Berg, that these meetings and the information

   2   shared during these meetings with Deloitte were highly confidential. Eastern was not
   3   invited to, and did not attend, these meetings.

   4            51.   At these meetings between Herbalife and Deloitte, various alternative

   5   BCDR solutions were discussed. Berg, who attended the meetings with Deloitte, never
   6   advised anyone at Herbalife or Deloitte that, allegedly, Eastern had already been awarded

   7   the BCDR contract, or that Eastern had already ordered the BCDR equipment. Berg had a

   8   fiduciary obligation to disclose to Herbalife that he understood that Eastern had already
   9   ordered tens of millions of dollars of BCDR equipment. Despite attending a series of

  10   meetings between Herbalife and Deloitte, Berg kept the alleged Eastern order a secret.

  11            52.   At these meetings between Deloitte and Herbalife, which Berg attended,
  12   different solutions regarding BCDR were discussed, including a cloud-based solution that

  13   would render the Eastern equipment purchase unnecessary.

  14            53.   On March 31, 2021, Deloitte sent an “executive readout” PowerPoint deck
  15   to the Chief Information Officer, who then forwarded the deck to her direct reports,

  16   including Berg, the next day. The executive readout makes clear that Deloitte was

  17   recommending that Herbalife consider options other than a hardware-heavy BCDR
  18   solution that would rely on vendors like Eastern and Dell.

  19            54.   Realizing that, with Deloitte’s involvement, a different BCDR solution

  20   might be selected that would render Eastern’s equipment purchase unnecessary, Berg
  21   panicked and began displaying aggressive and hostile behavior at the meetings with

  22   Deloitte. At one meeting with Deloitte in March 2021, Berg became so enraged that he

  23   slammed his hand on a table in outrage. Such aggressive and unprofessional behavior
  24   compelled Herbalife executives to later apologize to representatives from Deloitte.

  25                                       Berg Is Terminated

  26            55.   Berg’s unprofessional and aggressive behavior was observed by and also
  27   reported to senior management. Ultimately, Herbalife decided to terminate Berg’s at-will

  28   employment on or about April 9, 2021.             As part of his separation, Berg signed a
                                                    11
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   1   “Proprietary Information” agreement (“Proprietary Information Agreement”) which stated

   2   that “any proprietary information which you may have obtained regarding Herbalife
   3   International of America, Inc. or its affiliates, as a result of your employment is to be held

   4   in strictest confidence.” See Exhibit 4.

   5            56.    On April 27, 2021, 18 days after he was terminated, Berg forwarded a copy
   6   of the confidential Deloitte deck to Eastern from his personal Gmail account. There is no

   7   record of Berg ever emailing a copy of the presentation from his Herbalife email account

   8   to his personal Gmail email account; it appears that Berg must have used another method
   9   to transfer Herbalife materials to his personal device to avoid detection.

  10                             Herbalife Discovers the Fraudulent PO

  11             57.   Herbalife was unaware of the fraudulent PO or any order for BCDR
  12    equipment placed by Eastern. In July 2021, a Dell executive reached out to Herbalife

  13    requesting to speak about a “situation” that had arisen with Eastern.

  14             58.   The Dell representative explained that Dell had been informed by Eastern
  15    that Herbalife had placed a “firm order” via a PO numbered 1102051762 for BCDR

  16    equipment. The Dell representative further explained that Dell had built over $20 million

  17    worth of computer equipment based on Eastern’s representations.                   The Dell
  18    representative also informed Herbalife that Eastern had refused to accept delivery or pay

  19    for the BCDR equipment, causing a dispute between Dell and Eastern. At Herbalife’s

  20    request, Dell sent the PO numbered 1102051762—the fraudulent PO—to Herbalife,
  21    which led to Herbalife’s discovery of the fraud.

  22                              Eastern Settles Its Dispute with Dell

  23            59.    On information and belief, Dell and Eastern entered into a settlement and
  24   release agreement in which the parties released each other from any and all claims in

  25   connection with Eastern’s BCDR order with Dell on Herbalife’s behalf. On information

  26   and belief, Dell did not charge Eastern for the equipment nor did it charge Eastern for any
  27   restocking fees.

  28            ///
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   1                                  Eastern Seeks Compensation

   2            60.   Despite its fraudulent acts, and despite being released from all claims by
   3   Dell, Eastern seeks to benefit from its fraudulent conduct by charging Herbalife fees in

   4   connection with its fraudulent BCDR order from Dell. Eastern now seeks millions of

   5   dollars from Herbalife in payment for the BCDR project, including equipment and labor.
   6   Eastern also has demanded that Herbalife pay $2,267,476.86 to account for purported

   7   “restocking fees,” as well as other alleged fees, such as “financing fees,” allegedly

   8   charged by Dell to return the equipment Eastern ordered without authorization in October
   9   2020. On information and belief, no such fees were charged.

  10            61.   Eastern is also seeking payment for $1,074,915.62 in tokens and licenses

  11   Eastern purchased from a company called VMware allegedly on Herbalife’s behalf. The
  12   agreement entered into between Eastern and Herbalife specifically provides that Herbalife

  13   is only responsible to pay for such tokens and licenses when they are ordered pursuant to a

  14   purchase order. However, Herbalife has never issued a PO (i.e., Herbalife has never given
  15   corporate approval) to purchase any of the VMware tokens or licenses for which Eastern

  16   is now seeking payment; therefore, no money is due or owing to Eastern for the purchase

  17   of such tokens.
  18                   Eastern Has Breached the NDA and MSA with Herbalife
  19                        by Engaging in Fraudulent and Unethical Conduct
  20            62.   Paragraphs 2(B) and 5(v) of the MSA between Herbalife and Eastern state
  21   in pertinent part:
  22                  Contractor [i.e., Eastern] hereby agrees to perform the
                      Services in a conscientious and professional manner and to the
  23                  best of Contractor’s ability . . .
  24                  [Eastern] will perform the Services in a workmanlike manner.
  25            63.   The conduct alleged herein and above breaches Eastern’s contractual
  26   obligation under the MSA to perform its services in a conscientious, workmanlike, and
  27   professional manner to the best of Eastern’s ability.
  28            64.   Furthermore, the Deloitte meetings, including the PowerPoint deck, qualify
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   1   as “Confidential Information” under the NDA signed by Herbalife and Eastern. Paragraph

   2   2, “Confidential Information,” of the NDA broadly defines Confidential Information as:
   3                  . . . any nonpublic, confidential or proprietary information that
                      the Disclosing Party or any of its representatives, employees,
   4                  agents, affiliates, or financial, legal, or accounting advisors
                      (together, the “Representatives”) make available to the
   5                  Receiving Party in connection with the Services. Such
                      Confidential Information shall include, but is not limited to the
   6                  following: business and strategic plans, market analysis,
                      business summaries, business processes, financial forecasts
   7                  and reports, product formulas, ingredients, clinical studies,
                      prospective product designs, pricing policies and methods,
   8                  vendor and business partner identities, purchasing methods
                      and Information, operational material and manuals, financial
   9                  data, proposed trademarks or service marks, patent
                      applications, trade secrets, technical and engineering data,
  10                  drawings, models, software products, and design and technical
                      specifications.
  11
                65.   Paragraph 5 of the NDA between Herbalife and Eastern states, in pertinent
  12
       part, that Eastern (i.e., the “Receiving Party”) will:
  13
                      (a) not use Confidential Information for any purpose
  14                  whatsoever other than evaluation and/or facilitating
                      discussions between the Parties; (b) not copy the Confidential
  15                  Information, reproduce it in any form or store it in a retrieval
                      system or database without the prior written consent of the
  16                  Disclosing Party, subject to the exceptions contained herein;
                      (c) keep in confidence all Confidential Information received,
  17                  and not distribute, disclose, or disseminate such Confidential
                      Infonnation [sic] in any way to anyone except to the minimum
  18                  number of Representatives of the Receiving Party with a need
                      to know and who are involved in a consideration or evaluation
  19                  of the Confidential Information; provided however, that such
                      Representatives have been advised of the obligations to
  20                  protect the Confidential Infonnation [sic], and provided
                      further, that notwithstanding the foregoing, the Receiving
  21                  Party shall be liable for any misuse of such Confidential
                      Infonnation [sic] by such Representatives; (d) use reasonable
  22                  care to protect the Confidential Information, and in no event
                      use less than the same degree of care as the Receiving Party
  23                  safeguards its own Confidential Information of like kind . . . .
  24
                66.   Herbalife is informed and believes that Eastern used confidential
  25
       information gained before, during, and after the bidding process which was a breach of the
  26
       NDA. Herbalife is informed and believes that Eastern conspired with Berg to orchestrate a
  27
       situation in which Eastern would ultimately be able to win the BCDR bid and be able to
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   1   pay Dell for its unauthorized order.

   2                                 FIRST CAUSE OF ACTION
   3                                   Fraudulent Concealment

   4                                      (Against Defendants)

   5            67.   Herbalife incorporates herein by reference each of the allegations set forth
   6   above as though fully set forth herein.

   7            68.   Eastern and Berg conspired to falsely and fraudulently conceal from

   8   Herbalife that they were secretly conspiring to divert the BCDR business to Eastern,
   9   including by creating a fraudulent PO, and concealing such activities from Herbalife (nor

  10   could Herbalife have discovered them).

  11            69.   When Berg and Eastern entered into the conspiracy, Defendants failed to
  12   disclose such fraudulent conduct to Herbalife. Defendants knew their actions to be

  13   fraudulent, and Defendants concealed the truth from Herbalife with the intent to defraud

  14   and deceive Herbalife and with the intent to induce Herbalife to act in the manner herein
  15   alleged.

  16            70.   At the time of the fraudulent omissions by Berg, with the participation and

  17   knowledge of Eastern, and at the time Herbalife engaged in the actions herein alleged,
  18   Herbalife was ignorant of the actions being undertaken by Defendants, believed that

  19   Defendants were acting in the best interests of Herbalife, and relied upon Defendants in

  20   continuing to employ and compensate Berg and Eastern.
  21            71.   Herbalife did not discover the fraudulent concealment advanced by Eastern

  22   and Berg until Dell contacted Herbalife in the summer of 2021.

  23            72.   Berg and Eastern intended to deceive Herbalife by concealing their
  24   conspiracy and fraudulent PO. Berg and Eastern were careful not to create a “paper trail”

  25   of its fraudulent conduct.     There are no emails on the Herbalife computer system

  26   referencing or even mentioning the multi-million dollar order that Herbalife allegedly
  27   placed with Eastern. Furthermore, Berg failed to disclose during the RFP process that

  28   Eastern had already ordered the equipment that was subject to the RFP. When Berg
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   1   approved the PAR on January 27, 2021, Berg failed to disclose to anyone at Herbalife that

   2   he believed that Eastern had already ordered the equipment from Dell. Moreover, when
   3   Deloitte was retained in early 2021 to evaluate potential solutions for BCDR, Berg failed

   4   to mention that tens of millions of dollars of equipment had already been ordered by

   5   Eastern from Dell.      Berg did not obtain any of the required approvals to make an
   6   equipment order.      Berg’s concealment caused significant damage to Herbalife in an

   7   amount to be proven at trial.

   8            73.   Throughout 2020 and 2021, Berg acted as if Eastern had not been allegedly
   9   awarded the BCDR bid and that Eastern had not placed an equipment order with Dell.

  10   Berg participated in the Board presentation, the RFP process, the PAR approval process,

  11   and attended meetings with Deloitte, without ever mentioning his understanding that the
  12   BCDR project had already been awarded to Eastern and that Eastern had already placed

  13   the equipment order.

  14            74.   Had Herbalife known of the actions being undertaken by Defendants,
  15   Herbalife would have behaved differently.

  16            75.   As a result of Defendants’ wrongful conduct, Herbalife has suffered and

  17   continues to suffer economic loss, and other general and specific damages, including, but
  18   not limited to, Eastern’s invoice(s) for equipment return, financing charges, and/or

  19   restocking fees, among other damages, all in an amount to be determined according to

  20   proof at the time of trial.
  21            76.   Defendants committed the wrongful acts maliciously, oppressively, and with

  22   intent to defraud and permanently deprive Herbalife of its property, and their concealment

  23   was a substantial factor in causing Herbalife’s harm. Herbalife is entitled to punitive and
  24   exemplary damages in an amount to be ascertained according to proof at the time of trial.

  25            77.   WHEREFORE, Herbalife prays for relief as set forth below.

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   1                                 SECOND CAUSE OF ACTION

   2                                    Breach of Fiduciary Duty
   3                                       (Against Defendants)

   4             78.   Herbalife incorporates herein by reference each of the allegations set forth

   5    above as though fully set forth herein.
   6            79.    At all relevant times, Berg was a Vice President and officer of Herbalife and

   7   had a fiduciary duty to (1) use reasonable care in the performance of his duties, (2)

   8   exercise undivided loyalty to his employer, and (3) maintain the confidentiality of his
   9   employer’s documents.

  10            80.    Berg conspired with Eastern to breach his fiduciary duty to use reasonable

  11   care in the performance of his duties by, among other things, participating in a scheme to
  12   order tens of millions of dollars of equipment from Eastern without advising anyone at

  13   Herbalife or Deloitte of such orders. Berg also failed to disclose to Herbalife during the

  14   RFP process or the PAR approval process that the equipment subject to the bidding had
  15   already been ordered by Eastern.

  16            81.    As a Vice President and officer of Herbalife, Berg owed Herbalife his

  17   undivided loyalty.      Berg breached his fiduciary obligation to provide Herbalife his
  18   undivided loyalty by conspiring with Eastern to the detriment of Herbalife. Berg had a

  19   fiduciary obligation to disclose to Herbalife that Eastern had ordered tens of millions of

  20   dollars of equipment on behalf of Herbalife. Instead, Berg secretly corresponded with
  21   Eastern, using non-Herbalife emails or devices, so that no one at Herbalife could discover

  22   that the BCDR order had been placed by Eastern. Berg did not obtain any of the required

  23   approvals to make an equipment order. During the RFP process, Berg never disclosed
  24   that Eastern had already ordered BCDR equipment from Dell. Moreover, when Deloitte

  25   was suggesting other alternative BCDR solutions, Berg never disclosed that BCDR

  26   equipment had already been ordered. All of these acts, among others, violated his duty of
  27   loyalty to Herbalife.

  28            82.    Berg had a fiduciary duty to maintain the confidentiality of Herbalife’s
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   1   documents. In breach of this fiduciary duty, Berg conspired with Eastern and forwarded

   2   the Deloitte deck to Eastern 18 days after he was fired. Berg gave Eastern confidential
   3   information regarding BCDR strategy.

   4            83.   Herbalife was harmed by Berg’s breach of his fiduciary duties and Berg’s

   5   conduct was a substantial factor in causing Herbalife’s harm.
   6            84.   Defendants committed the wrongful acts maliciously, oppressively, and with

   7   intent to defraud and permanently deprive Herbalife of its property, and their concealment

   8   was a substantial factor in causing Herbalife’s harm. Herbalife is entitled to punitive and
   9   exemplary damages in an amount to be ascertained according to proof at the time of trial.

  10            85.   WHEREFORE, Herbalife prays for relief as set forth below.

  11                                 THIRD CAUSE OF ACTION
  12                                       Breach of Contract

  13                                      (Against Defendants)

  14            86.   Herbalife incorporates herein by reference each of the allegations set forth
  15   above as though fully set forth herein.

  16            87.   Eastern entered into two agreements with Herbalife, the MSA and the NDA.

  17   True and correct copies of these agreements are attached hereto as Exhibits 2-3.
  18            88.   Berg entered into two agreements with Herbalife, the Confidentiality

  19   Agreement and the Proprietary Information Agreement. True and correct copies of these

  20   agreements are attached hereto as Exhibits 1 and 4.
  21            89.   Herbalife has satisfied all of its obligations under the MSA, the NDA, the

  22   Confidentiality Agreement, and the Proprietary Information Agreement.

  23            90.   By engaging in the misconduct and other wrongful acts set forth above,
  24   Eastern has materially breached the MSA and the NDA, and Berg has materially breached

  25   the Confidentiality Agreement and the Proprietary Information Agreement.

  26            91.   As a result of Eastern’s breaches, Herbalife has suffered and continues to
  27   suffer economic loss, and other general and specific damages, including, but not limited

  28   to, Eastern’s invoice(s) for equipment return, financing charges, or restocking fees, among
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   1   other damages, all in an amount to be determined according to proof at the time of trial.

   2            92.     WHEREFORE, Herbalife prays for relief as set forth below.
   3                                  FOURTH CAUSE OF ACTION
   4                                             Conversion
   5                                       (Against Defendants)
   6            93.     Herbalife incorporates herein by reference each of the allegations set forth
   7   above as though fully set forth herein.
   8            94.     Herbalife has an advantage over its competitors because of its confidential,
   9   proprietary Confidential Information. Berg and Eastern were entrusted with the
  10   Confidential Information in connection with their employment and vendor status,
  11   respectively, at Herbalife. Berg and Eastern conspired to wrongfully convert the
  12   Confidential Information by improperly and secretly diverting business to Eastern for
  13   Defendants’ financial gain.
  14            95.     As a result of Defendants’ wrongful conduct, Herbalife has suffered and
  15   continues to suffer economic loss, and other general and specific damages, including, but
  16   not limited to, Eastern’s invoice(s) for equipment return, financing charges, or restocking
  17   fees, among other damages, all in an amount to be determined according to proof at the
  18   time of trial.
  19            96.     Defendants committed the wrongful acts maliciously, oppressively, and with
  20   intent to defraud and permanently deprive Herbalife of its property. Herbalife is entitled to
  21   punitive and exemplary damages in an amount to be ascertained according to proof at the
  22   time of trial, which is appropriate to punish and set an example.
  23            97.     WHEREFORE, Herbalife prays for relief as set forth below.
  24                                   FIFTH CAUSE OF ACTION
  25                                         Declaratory Relief
  26                                        (Against Defendants)
  27            98.     Herbalife incorporates herein by reference each of the allegations set forth
  28   above as though fully set forth herein.
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   1            99.    There is an actual and justiciable controversy between Herbalife, on the one

   2   hand, and Berg and Eastern, on the other hand, as to whether an agreement for BCDR
   3   services exists and, if so, whether money is owed under this agreement.

   4            100.   Herbalife hereby seeks a judicial declaration that:

   5                   a.     Herbalife and Eastern did not enter into an enforceable agreement for
   6   Eastern to purchase BCDR equipment or perform any services related thereto on behalf

   7   of Herbalife;

   8                   b.     Herbalife has no obligation to pay Eastern for any invoices relating to
   9   the BCDR project, including HBL4000, 3141, or 3837, which represent Eastern’s alleged

  10   spend for BCDR services, VMware licenses, and VMware tokens on behalf of Herbalife;

  11                   c.     Herbalife has no obligation to pay any equipment return, financing
  12   charges, or restocking fees charged to Eastern by Dell (or similar charges);

  13                   d.     Herbalife has no liability for terminating the at-will employment of

  14   Berg based on, among other things, Berg’s conduct, as well as the after-acquired
  15   evidence doctrine, and that Berg is not entitled to any damages for the termination of his

  16   at-will employment; and

  17                   e.     Berg must indemnify Herbalife for all damages, losses, and
  18   attorneys’ fees pursuant to paragraph 9 of the Confidentiality Agreement executed on

  19   January 6, 2020.

  20            101.   A judicial determination of the parties’ rights, obligations, and liabilities as
  21   set forth above is necessary and appropriate because Herbalife will continue to sustain

  22   substantial injury and damages if it does not obtain the judicial declarations set forth

  23   above.
  24                                      PRAYER FOR RELIEF

  25            WHEREFORE, Herbalife prays for relief as follows:

  26            1.     For an injunction restraining and enjoining Defendants, their agents,
  27   servants, and employees, and all other persons acting in concert or participating with

  28   them:
                                                      20
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   1                  a.     From disclosing or utilizing any confidential, proprietary, or

   2   protected information obtained from Herbalife including, but not limited to, information
   3   obtained during the RFP process, including the Deloitte “executive readout” deck.

   4                  b.     To return to Herbalife any confidential, proprietary, or protected

   5    information or other property or information misappropriated from Herbalife by
   6    Defendants.

   7            2.    For compensatory and general damages according to proof;

   8            3.    For special damages according to proof;
   9            4.    For consequential damages according to proof;

  10            5.    For prejudgment interest at the maximum legal rate;

  11            6.    For punitive and exemplary damages according to proof;
  12            7.    For costs of the proceedings herein;

  13            8.    For attorney’s fees as provided by the MSA, the NDA, and the

  14   Confidentiality Agreement;
  15            9.    For such other and further relief as the Court deems just and proper; and

  16            10.   For a jury trial pursuant to law.

  17
  18   Dated: January 17, 2022               MANATT, PHELPS & PHILLIPS, LLP
  19
  20                                         By: /s/ Robert H. Platt
                                                     Robert H. Platt
  21                                                 Attorneys for Plaintiff
                                                     HERBALIFE NUTRITION
  22                                                 INTERNATIONAL OF AMERICA, INC.
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